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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
         v.                                   )             CASE NO.: 1:13-CR-59-TLS
                                              )
KAMERON J. KUTZLI                             )

                 ORDER ACCEPTING FINDINGS AND RECOMMENDATION

         This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 56], filed on September 23, 2013. The Defendant has waived objection

to the Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

Recommendation [ECF No. 56] in its entirety and accepts the recommended disposition. Subject to

this Court’s consideration of the Plea Agreement pursuant to Federal Rule of Criminal Procedure

11(c), the plea of guilty to the offense charged in Count 1 of the Indictment IS hereby accepted, and

the Defendant is adjudged guilty of such offense.

         The notice of sentencing and pre-sentence scheduling deadlines will be issued by separate

order.

         SO ORDERED on October 9, 2013.

                                              s/ Theresa L. Springmann
                                              THERESA L. SPRINGMANN
                                              UNITED STATES DISTRICT COURT
